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11                               UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
14
15   UNITED STATES OF AMERICA,                 )   No.: CR 05-00465-JSW
                                               )
16           Plaintiff,                        )
                                               )   [PROPOSED] ORDER EXCLUDING
17      v.                                     )   TIME UNDER THE SPEEDY TRIAL ACT
                                               )
18   ZIBU “BOB” GAO,                           )
     ZHICHENG ZENG,                            )
19   LI HUA MA,                                )
        aka Lin,                               )
20      aka Lene Lam,                          )
     RALPH FRANK PETERS,                       )
21      aka Peter,                             )
        aka Patrick, and                       )
22   LIWEI TAN KUO,                            )
        aka Grace Tan,                         )
23      aka Li Wei Tan,                        )
        aka Tan Kuo Liwei,                     )
24      aka Grace Kuo,                         )
        aka Li Wei Kuo,                        )
25                                             )
             Defendants.                       )
26                                             )
27
28
     [PROPOSED] ORDER EXCLUDING TIME
     UNDER THE SPEEDY TRIAL ACT
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1           This matter came on the calendar of the Honorable Jeffrey S. White on January 19, 2006.
2    At the parties’ request, the Court continued the matter until September 18, 2006 for trial. The
3    parties requested an exclusion of time under the Speedy Trial Act on two bases.
4           First, the parties requested an exclusion of time based upon the need for continuity of
5    counsel. See 18 U.S.C. § 3161(h)(8)(A) and (B)(iv). All defense counsel have varying trial
6    schedules between January 19 and September 18. The earliest date that was available to all
7    defense counsel was September 18, 2006.
8           Second, due to the number of defendants and the quantity of discovery, this case is so
9    complex that it is unreasonable to expect adequate preparation within the time limits of the
10   Speedy Trial Act. See 18 U.S.C. § 3161(h)(8)(B)(ii).
11          Therefore, the parties are requesting an exclusion of time under the Speedy Trial Act.
12   The parties agree that the time from January 19 through September 18, 2006 should be excluded
13   in computing the time within which trial must commence. See 18 U.S.C. §§ 3161(h)(1)(G),
14   3161(h)(8)(A) and (B)(iv).
15          Accordingly, the Court HEREBY ORDERS that the time from January 19 through
16   September 18, 2006 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161. The Court finds
17   that the failure to grant the requested exclusion would deny the defendants continuity of counsel.
18   See 18 U.S.C. § 3161(h)(8)(B)(iv). The Court further finds that this case is so complex that it is
19   unreasonable to expect adequate preparation for pretrial proceedings or for the trial itself within
20   the time limits established by the Speedy Trial Act. See 18 U.S.C. § 3161(h)(8)(B)(ii).
21          The Court finds that the ends of justice served by granting the requested exclusion
22   outweigh the best interest of the public and the defendants in a speedy trial and in the prompt
23   disposition of criminal cases. See 18 U.S.C. § 3161(h)(8)(A). The Court therefore concludes
24   that this exclusion of time should be made under 18 U.S.C. § 3161(h)(8)(A).
25          SO ORDERED.
26                   24 2006
     DATED: February ___,                          ___________________________________
                                                   HONORABLE JEFFREY S. WHITE
27                                                 UNITED STATES DISTRICT JUDGE
28
     [PROPOSED] ORDER EXCLUDING TIME
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2    Approved as to form:
3
4    /s/ Alan Dressler
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5    Counsel for Defendant GAO
6
     /s/ Tony Tamburello
7    TONY TAMBURELLO
     Counsel for Defendant ZENG
8
9    /s/ Frank Bell
     FRANK BELL
10   Counsel for Defendant MA
11
     /s/ Juliana Drous
12   JULIANA DROUS
     Counsel for Defendant PETERS
13
14   /s/ Monica Fernandez
     MONICA FERNANDEZ
15   Assistant United States Attorney
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     [PROPOSED] ORDER EXCLUDING TIME
     UNDER THE SPEEDY TRIAL ACT
     No.: CR 05-00465-JSW                     3
